     Case 2:18-cr-00035-BWC Document 1 Filed 07/10/18 Page 1 of 2




                      UNITED STATES DISTRICT COURT                          ««
                     SOUTHERN DISTRICT OF GEO^JA. \n PM                     JO
                             BRUNSWICK DIVISION


 UNITED STATES OF AMERICA                 ) ENFORmR^i^^^wwMWG^-
                                          )
              V.                          ) 18 U.S.C. § 13
                                          ) Assimilative Crimes
 BRUCE FERGUSON                           )
                                          ) O.C.G.A. § 16-6-8
                                          ) Public Indecency

                                                      CR218- OJJT
THE UNITED STATES ATTORNEY CHARGES THAT:


                                    COUNT ONE
                       Assimilative Crimes (Public Indecency)
                          18 U.S.C. § 13, O.C.G.A. § 16-6-8

      On or about June 6, 2018, in Wayne County, within the Southern District of

Georgia, the defendant,

                               BRUCE FERGUSON,

at the Federal Correctional Institution Jesup, which is located on land acquired for

the use ofthe United States and under the concurrentjurisdiction thereof, did commit

the offense of public indecency by lewdly exposing his sexual organs in a public place.

      All in violation of Title 18, United States Code, Section 13 and Official Code of

Georgia Annotated Section 16-6-8.
Case 2:18-cr-00035-BWC Document 1 Filed 07/10/18 Page 2 of 2
